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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

  In re:                           §
                                   §                                  Case No. 21-10630-tmd
  WC 717 N. HARWOOD PROPERTY, LLC, §
                                   §                                  Chapter 11
       Debtor.                     §


                 DEBTOR’S MOTION FOR ORDER EXTENDING TIME TO FILE
                SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENT OF
                      FINANCIAL AFFAIRS AND OTHER DOCUMENTS

           WC 717 N. Harwood Property, LLC (the “Debtor”) moves for entry of an order

  substantially in the form attached hereto granting the Debtor an additional fourteen (14) days, or

  from August 17 to August 31, 2021, to file its schedules of assets and liabilities, schedule of

  executory contracts and unexpired leases, and statement of financial affairs (collectively, the

  “Schedules”). In further support of this motion, the Debtor, by and through its proposed

  undersigned counsel, respectfully represents:

                                        JURISDICTION AND VENUE1

           1.       This Court has jurisdiction under 28 U.S.C. §1334. This is a core proceeding under

  28 U.S.C. §157(b). Venue of this bankruptcy case and this motion in this district is proper under

  28 U.S.C. §§1408 and 1409.

           2.       The legal predicate for the relief herein is Sections 105(a) and 521 and Rules

  1007(a)(3), 1007(c), 2002(d), and 2002(m).




  1
    Unless otherwise indicated, (a) all statutory references are to the United States Bankruptcy Code, Title 11 United
  States Code, and (b) all rule references are to the Federal Rules of Bankruptcy Procedure.

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                                           BACKGROUND

          3.      On August 3, 2021 (the “Petition Date”), the Debtor commenced this case by filing

  a petition for relief under Chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”). The

  Debtor continues to operate it business and manage its properties as a debtor and debtor-in-

  possession pursuant to Sections 1107(a) and 1108.

          4.      To date, no creditors’ committee has been appointed in the Chapter 11 Case by the

  Office of the United States Trustee for the Western District of Texas (the “United States

  Trustee”). No trustee or examiner has been appointed in the Chapter 11 Case.

          5.      The Debtor owns and operates a 34-story Class A office building located in the

  Dallas City Center/Dallas Arts District neighborhood.

          6.      The debt on the Debtor’s property was originally held by JP Morgan Chase. The

  debt was subsequently purchased just before its original maturity date by SKW-B Acquisitions

  Seller J, LLC (“SKW-B”).

          7.      The Debtor had been in negotiations and discussions with SKW-B regarding

  obtaining additional time to satisfy SKW-B’s debt. Those negotiations, however, broke-down and

  the Debtor filed this bankruptcy case prior to a scheduled foreclosure by SKW-B. Given the

  significant equity in the property versus the outstanding loan balance owed to SKW-B (which the

  Debtor estimates to be in in excess of $50 million) the, Debtor is confident it will be successful in

  its efforts to reorganize.

                                             ARGUMENT

          8.      Pursuant to Section 521 and Rule 1007(c), if the bankruptcy petition is

  accompanied by a list of all of the debtor’s creditors and other parties in interest, along with their

  addresses, within fourteen (14) days from the date of filing, a debtor is required to file with the



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  court: (i) a schedule of assets and liabilities; (ii) a statement of financial affairs; (iii) a statement of

  executory contracts and unexpired leases. An extension of those filings may be granted for “cause

  shown”.2

             9.      Cause exists to grant the requested extension. First, the first meeting of creditors

  is scheduled on September 7, 2021 at 11:00 a.m. CT, one week after the requested extended filing

  deadline. Accordingly, the United States Trustee, creditors, and other parties in interest should

  have more than sufficient time to evaluate the Schedules prior to the first meeting of creditors.

  Therefore, the relief requested should not result in any prejudice to any party.

             10.     Second, although this is a SARE case, it is in many ways more complex than most

  of the other cases filed by World Class entities before this Court. Among other things, the Debtor

  is party to numerous executory contracts and leases that will need to be described to some degree

  in the Schedules. In addition, as SKW-B has been in control of the Debtor’s rents, the Debtor

  requires certain information from SKW-B to complete the Schedules in connection with accounts

  receivable and the debt owed to SKW-B.

             11.     Third, the accounting professional with knowledge of the Debtor’s finances will be

  unavailable due to a pre-existing vacation scheduled for the week of August 16, 2021. To ensure

  that the Schedules are accurate, that individual will need additional time after return from vacation

  to compile and review the Debtor’s financial information with the Debtor’s proposed financial

  advisor (which will be completing the Schedules).

             12.     Fourth, as of the date of this motion, neither SKW-B or the United States Trustee

  have indicated that they oppose the extension of the deadline to file the Schedules to August 31.

  In particular, SKW-B has affirmed that it does not oppose the extension; the United States Trustee



  2
      See Rule 1007(c).

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  indicated as of the time that counsel conferred that it has no position regarding the extension.

          13.     Given the circumstances of this case as described above, a fourteen (14) day

  extension of the current filing deadline of August 17, 2021 is reasonable.

                                               NOTICE

          14.     Notice of this Motion shall be given to (a) the Office of the U.S. Trustee for the

  Western District of Texas; (b) the Debtor’s 20 largest creditors; (c) counsel to SKW-B; and (d)

  any other party that has requested notice pursuant to Bankruptcy Rule 2002 as of the time of

  service. Due to the nature of the relief requested herein, the Debtor submits that no other or further

  notice need to be provided.

                                       NO PRIOR REQUEST

          15.     No previous request for the relief sought herein has been made to this Court or any

  other court.

                                            CONCLUSION

          WHEREFORE, based on the arguments and authorities set forth above, the Debtor

  respectfully requests that the Court enter an order: (i) extending the time for filing the Schedules

  and Statements for an additional fourteen (14) days through and including August 31, 2021; and

  (ii) granting such order and further relief as the Court deems to be just and proper.




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  Dated: August 17, 2021

                                                       Respectfully submitted,


                                                        /s/ Mark H. Ralston
                                                       Mark H. Ralston
                                                       State Bar No. 16489460
                                                       Fishman Jackson Ronquillo PLLC
                                                       13155 Noel Road, Suite 700
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                                                       Telephone: (972) 419-5544
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                                                       E-mail: mralston@fjrpllc.com

                                                       PROPOSED COUNSEL FOR DEBTOR
                                                       WC 717 N. HARWOOD PROPERTY, LLC



                               CERTIFICATE OF CONFERENCE


          I hereby certify that (a) on August 10, 2021, the undersigned counsel for the Debtor
  conferred with the United States Trustee and indicated that the United States Trustee did not have
  a position with respect to the requested relief and reserved all rights with respect to same upon
  review of the motion; and (b) on August 16, 2021, a representative of the Debtor conferred with
  counsel for SKW-B, which indicated that it did not have an objection to the requested relief.

                                                        /s/ Mark Ralston
                                                       Mark Ralston




                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 17, 2021, I caused to be served a true and correct copy of
  the foregoing document by the court ECF filing system on all parties who have entered their
  appearance electronically and by first class U.S. mail on the parties listed on the attached service
  list.

                                                        /s/ Mark Ralston
                                                       Mark Ralston




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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

  In re:                           §
                                   §                           Case No. 21-10630-tmd
  WC 717 N. HARWOOD PROPERTY, LLC, §
                                   §                           Chapter 11
       Debtor.                     §


                 ORDER EXTENDING TIME FOR THE DEBTOR TO FILE
             SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENT OF
                   FINANCIAL AFFAIRS AND OTHER DOCUMENTS

           Upon the Debtor’s motion (the “Motion”) for an order granting the Debtor additional time

  to file its to file its schedules of assets and liabilities, schedule of executory contracts and unexpired

  leases, and statement of financial affairs (collectively, the “Schedules”); and due and sufficient

  notice of the Motion having been given under the particular circumstances; and it appearing that

  no other or further notice need be provided; and finding that the Debtor has shown cause for the

  relief requested by the Motion; and it appearing that this Court has jurisdiction to consider the

  Motion and relief requested therein in accordance with 28 U.S.C. §1334(b); and it appearing that




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  the Motion is a core proceeding pursuant to 28 U.S.C. §157(b)(2); and that venue in this district is

  allowed pursuant to 28 U.S.C. §§ 1408 and 1409; and upon the record herein, and after due

  deliberation thereon; and good and sufficient case appearing therefore, it is hereby

          ORDER, ADJUDGED AND DECREED that:

          1.       The Motion is Granted as provided herein.

          2.       The Debtor is hereby granted an extension of an additional fourteen (14) days, until

  twenty-eight (28) days after the Petition Date, or August 31, 2021, to file the Schedules.

          3.       This Court shall retain jurisdiction with respect to all matters arising or related to

  the implementation and interpretation of this Order.

                                      # # # END OF ORDER # # #



  PREPARED AND SUBMITTED BY:

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  PROPOSED COUNSEL FOR DEBTOR
  WC 717 N. HARWOOD PROPERTY, LLC




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  c/o SKW Funding, LLC
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